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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

vs.                                              Case No. 4:06cr24-SPM
                                                 Case No. 4:07cv286-SPM/WCS,
JOSE LUIS LEDESMA,

        Defendant.
                                      /


                          REPORT AND RECOMMENDATION

        Pending in this case is a motion to vacate and set aside a sentence filed by

Defendant Jose Luis Ledesma pursuant to 28 U.S.C. § 2255. Doc. 107. The United

States filed a response. Doc. 117. Defendant filed a reply. Doc. 118. The

Government concedes that the motion was timely filed. Doc. 117, p. 2.

        Defendant brings two claims that should be considered as one. Defendant

contends that he should have been awarded acceptance of responsibility at sentencing.

He claims that his attorneys should have successfully pursued that claim at sentencing

and on appeal, and were ineffective for failing to do so.

        The basic law governing ineffective assistance of counsel claims was established

in Strickland v. Washington, 466 U.S. 668, 690, 694, 104 S.Ct. 2052, 2066, 2068, 80

L.Ed.2d 674 (1984). Under the two part test of Strickland, Petitioner must
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demonstrate both deficient performance and prejudice to the outcome. To establish

deficient performance, a petitioner "must identify the acts or omissions of counsel that

are alleged not to have been the result of reasonable professional judgment." 466 U.S.

at 690, 104 S.Ct. at 2066. For prejudice, Petitioner must show "a reasonable probability

that, but for counsel's unprofessional errors, the result of the proceeding would have

been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome." 466 U.S. at 694, 104 S.Ct. at 2068.

       At the plea colloquy, an official interpreter provided a translation during the

proceedings. Doc. 85, p. 1. Defendant asked to enter a nolo contendere plea to counts

one and two of the indictment. Id., p. 2. Pursuant to long-standing policy, the

Government objected to a nolo contendere plea. Id., p. 11; doc. 39.

       The Court explained that by pleading no contest, "you are not admitting the

charges against you, but you are conceding that the government has sufficient evidence

to prove your guilt to a jury beyond a reasonable doubt."1 Doc. 85, p. 7. Defendant said

he understood. Id. Defendant said he understood he would be adjudged guilty and

sentenced as if he had pled guilty or been found guilty by a jury. Id., p. 8.

       The Government set forth the following factual basis for the plea:

       If this case were to go to trial, the United States would produce competent
       and substantial evidence to prove that the defendant is guilty of the
       offense as charged in his pending indictment. The facts would establish
       the following:

       On March 4th, 2006, at approximately 8:12 p.m., a tractor-trailer traveling
       eastbound on I-10 entered Interdiction Station 06B in Suwannee County,
       Florida. The driver of the tractor was Jose Luis Ledesma and the
       passenger was Hary Josue Gonzalez Quezada.

       1
           An interpreter translated from English to Spanish and vice versa.
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      Ledesma gave an agricultural officer a handwritten shipping order and a
      freight bill in the name of Honor -- it should say -- Truck and Transfer,
      which indicated the load was pallets of Brawny paper towels. The point of
      origin and shipper's name and address were blank. The designation was
      listed as Los Angeles, California -- or Los Angeles, C-A-L, short for
      California.

      While Ledesma was speaking to the agricultural officer, Quezada was
      observed speaking on a cell phone in the cab.

      The trailer was then inspected. The trailer doors were neither locked nor
      sealed. The payload of the trailer was only about one-third filled with
      boxes of paper towels. Approximately 85 bundles of marijuana, later
      determined by the Florida Department of Law Enforcement to weigh 1,603
      pounds, were found hidden underneath and between the boxes of paper
      towels. Approximately one-half of the marijuana bundles were wrapped in
      blue cellophane and the other half were wrapped in black tape.

      Immediately after the marijuana was discovered, the agricultural officer
      asked Ledesma about the city of origin of the load to which Ledesma first
      replied Arizona and then Houston, Texas. Later Investigator Allen Davis of
      the Office of Agricultural Law Enforcement, interviewed Ledesma.
      Ledesma agreed to answer questions after being read his Miranda rights.

      Ledesma stated he picked up the truck and trailer in California and was
      approached by an unknown black male in Houston, Texas, who paid him
      $1,000 to transport the load to Orlando.

      Both Ledesma and Quezada were placed in the back of the same patrol
      car where their conversation in Spanish was recorded. They discussed
      telling law enforcement that a black man in Houston gave them $1,000 to
      transport the paper towels. They also talked about having told Cesar that
      "they got us."

      During a subsequent search of the cab of the truck, approximately $4,000
      was found in a luggage [sic] of Quezada. Another shipping order and
      freight bill was also discovered dated March 4th, 2006, indicating 20
      pallets of heat pumps had been shipped by Honor Trucking and delivered
      to Skipper'S Air Cond [sic] at an address in Mobile, Alabama.

      A representative of the Skipper's Air-Conditioning was contacted and
      indicated their address is in Grand Bay, and they never received such a
      shipment.




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       In addition, the logbooks of the defendant showed only 4 days of travel.
       The books showed them arriving in Mobile, Alabama, at 12 noon on March
       3rd, 2006, and then both were off duty for 24 hours. The final entry in both
       logs indicated they left Mobile at approximately 12 noon on March 4th,
       2006.

       The trailer is owned by TYT Transportation, Inc., out of Paramount,
       California. The trailer was rented to Ledesma on or about March 2nd,
       2006, for $500. The trailer was empty but for a few wooden pallets. It
       should say, did not have any payload when it was given to Ledesma [sic].

       The truck is owned by Honor Truck and Transfer and was leased to Hugo
       Orellano and Mariam Ochaeta. Hugo Orellano and Mariam Ochaeta are
       married and the uncle and aunt to Hary Quezada. Jose Luis Ledesma and
       Hary Josue Gonzalez Quezada traveled from California through the
       Northern District of Florida before arriving at the interdiction station in
       Suwannee County, Florida. A gas receipt found in the tractor shows a
       purchase of gas made in Madison County in the Northern District of
       Florida on the same day of their arrest.

       Also, on that same day, the truck and trailer was photographed going
       through Sneads weigh station in Jackson County, which is the Northern
       District of Florida.

       In addition, there are no eastbound exits off of I-10 between the Northern
       District or Florida and the interdiction station in Suwannee County.

       At trial the government would prove that Jose Luis Ledesma did conspire
       to distribute or possess with the intent to distribute the marijuana found in
       the trailer he was transporting. These facts will be proven through
       eyewitness testimony, physical evidence, business records, forensic
       examinations and statements of the defendants.

Doc. 85, pp. 11-14. Defendant acknowledged that the Government could prove those

facts beyond a reasonable doubt. Id., p. 15.

       Defendant was then asked how he plead to counts one and two of the

indictment. Id., p. 19. He said: "Guilty, not guilty." Id. He then conferred with his

attorney, Randall Murrell, and said: "Guilty because I was bringing the truck. Not guilty




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because I wasn't aware of what was at the back of the truck."2 Id. The Court then said

that it understood that Defendant was pleading no contest and accepted the plea as a

no contest plea. Id., pp. 19-20.

       On advice of counsel, Defendant refused to discuss the offense with the

probation officer in the preparation of the presentence report. PSR, ¶ 18. At

sentencing, Defendant was given an opportunity to speak but did not. Doc. 92, p. 3.

       Acceptance of a no contest plea in the face of continued protestations of

innocence is within the discretion of the court:

       When a defendant attempts to couple a guilty plea with an assertion of
       facts that would negate his guilt, a judge may properly treat this assertion
       as a protestation of innocence. Though a judge may enter judgment upon
       a guilty plea offered under these circumstances, he is not required to do
       so. North Carolina v. Alford, 400 U.S. 25, 38 nn. 10, 11, 91 S.Ct. 160,
       167-68 nn. 10, 11, 27 L.Ed.2d 162 (1970). In fact, the Advisory Committee
       Note to the 1974 amendment to Rule 11 observes:

              The procedure in such case would seem to be to deal with
              this as a plea of nolo contendere, the acceptance of which
              would depend upon the judge's decision as to whether
              acceptance of the plea is consistent with “the interest of the
              public in the effective administration of justice” [new rule
              11(b) ]. The defendant who asserts his innocence while
              pleading guilty or nolo contendere is often difficult to deal
              with in a correctional setting, and it may therefore be
              preferable to resolve the issue of guilt or innocence at the
              trial stage rather than leaving the issue unresolved, thus
              complicating subsequent correctional decisions.

       In summary, we hold that when a defendant casts doubts upon the validity
       of his guilty plea by protesting his innocence or by making exculpatory
       statements, the court may resolve such doubts against the plea.

United States v. Gomez-Gomez, 822 F.2d 1008, 1011 (11th Cir. 1987).


       2
       This is what Defendant told me when I determined that I could not recommend
acceptance of his guilty plea on July 12, 2006. Doc. 44 (minutes).
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       An Alford or nolo contendere plea does not necessarily cause a loss of

acceptance of responsibility at sentencing. United States v. Rodriguez, 905 F.2d 372

(11th Cir.1990). Indeed, even if Defendant had entered a not guilty plea and gone to

trial, he still might have earned acceptance of responsibility. United States v. Thayer,

204 F.3d 1352, 1358 (11th Cir. 2000), citing, United States v. Castillo-Valencia, 917

F.2d 494 (11th Cir.1990).

       Pursuant to section 3E1.1(a) of the Sentencing Guidelines, criminal
       defendants may receive a two-level reduction if they "clearly
       demonstrate[ ] a recognition and affirmative acceptance of personal
       responsibility for" the criminal conduct. A defendant receives
       consideration under this provision "without regard to whether his
       conviction is based upon a guilty plea or a finding of guilt by the court or
       jury or the practical certainty of conviction at trial." § 3E1.1(b). The
       reduction, however, is not automatic. In appropriate circumstances, the
       sentencing court may deny a defendant the reduction following a guilty
       plea, if the defendant does not demonstrate an acceptance of
       responsibility. United States v. Rodriguez, 905 F.2d 372, 374 (11th
       Cir.1990). See also § 3E1.1 application note 3 (guilty plea standing alone
       does not entitle defendant to reduction).

United States v. Chukwura, 5 F.3d 1420, 1424 (11th Cir. 1993), cert. denied, 513 U.S.

830 (1994).

       Defendant contends that he "admitted he transported the contraband and he

admitted all relevant conduct throughout the proceeding . . . ." Doc. 107, memorandum,

p. 6; p. 19 on the electronic case filing docket (ECF). Nothing could be further from the

truth. I explained to Defendant that if he was not guilty, he had a right to go to trial. He

persisted in a plea of no contest before the district judge. At no point did he admit guilt.

He did not admit guilt before me, and he did not admit guilt before the district judge.

Indeed, at the very last minute, he again said he was not guilty because he did not know

that the marijuana was in the back of the truck. That was highly unlikely, given the fact

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that Defendant drove an empty truck from California to Houston, Texas, picked up a

load that he says came from an unknown black man, the load was not full, the bundles

of marijuana were stuffed under and around the legitimate cargo, and there were 1,602

pounds of marijuana.

       Whether to accept responsibility was Defendant's decision to make. He did not.

Defendant did not earn acceptance of responsibility, and his lawyer had nothing to

present on his behalf. This claim is without merit.

       For these reasons, it is RECOMMENDED that Defendant Jose Luis Ledesma's

motion to vacate and set aside a sentence filed pursuant to 28 U.S.C. § 2255, doc. 107,

be DENIED with prejudice.

       IN CHAMBERS at Tallahassee, Florida, on January 7, 2008.



                                          s/  William C. Sherrill, Jr.
                                          WILLIAM C. SHERRILL, JR.
                                          UNITED STATES MAGISTRATE JUDGE



                               NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party's objections within 10
days after being served with a copy thereof. Failure to file specific objections
limits the scope of review of proposed factual findings and recommendations.




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